         Case 1:21-cv-02744-GLR Document 21 Filed 02/01/22 Page 1 of 3


                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Baltimore Division
________________________________________________
                                                    )
MARY MILANO,                                        )
                                                    )
                Plaintiff,                          )
v.                                                  ) Civ. No. 1:21-cv-02744-GLR
                                                    )
WORLD RELIEF CORPORATION OF THE                     )
NATIONAL ASSOCIATION OF EVANGELICALS, )
                                                    )
               Defendant.                           )
                                                    )

           JOINT RESPONSE TO COURT’S MEMORANDUM TO COUNSEL

       Pursuant to the Court’s Memorandum to Counsel dated January 27, 2022 (ECF No.

18), plaintiff Mary Milano (“Milano”) and defendant World Relief Corporation of the National

Association of Evangelicals (“World Relief”), through their respective counsel, jointly submit

the following responses to the Court’s inquiry regarding transfer to a United States Magistrate

Judge (“USMJ”) for all further proceedings.

       At this time, Milano does not consent to transfer the case to a USMJ for any additional

proceedings beyond what the court has already assigned to the Honorable USMJ David

Copperthite. World Relief consents to transferring the case to a USMJ and remains amenable

to same should Milano’s position change.

       The parties will continue to evaluate their respective positions for settlement purposes

as discovery proceeds and will promptly notify the Court if settlement is reached.




                                                1
         Case 1:21-cv-02744-GLR Document 21 Filed 02/01/22 Page 2 of 3


Dated: February 1, 2022                   Respectfully submitted,

                                          /s/ Anita Mazumdar Chambers
                                          R. Scott Oswald, Esq.
                                          Anita Mazumdar Chambers, Esq.
                                          The Employment Law Group, P.C.
                                          1717 K Street NW, Suite 1110
                                          Washington, D.C. 20006-5345
                                          (202) 261-2821 (telephone)
                                          (202) 261-2835 (facsimile)
                                          soswald@employmentlawgroup.com
                                          achambers@employmentlawgroup.com
                                          Counsel for Plaintiff

                                          _/s/_Lindsey A. White___________
                                          Lindsey A. White
                                          Courtney B. Amelung
                                          Shawe Rosenthal LLP
                                          One South Street, Suite 1800
                                          Baltimore, MD 21202
                                          (410) 843-3472
                                          law@shawe.com
                                          cba@shawe.com
                                          Attorneys for the Defendant




                                      2
          Case 1:21-cv-02744-GLR Document 21 Filed 02/01/22 Page 3 of 3


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 1, 2022, a true and correct copy of the foregoing

was filed using the CM/ECF system and served upon the following counsel for Defendant:

       Lindsey A. White
       Courtney B. Amelung
       Shawe Rosenthal LLP
       One South Street, Suite 1800
       Baltimore, MD 21202
       (410) 843-3472
       law@shawe.com
       cba@shawe.com
       Attorneys for the Defendant


                                                  /s/ Anita Mazumdar Chambers
                                                  Anita Mazumdar Chambers, Esq.




                                              3
